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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


MARIA FARMER,

               Plaintiff,                                  CASE NO: 19-cv-10474-NRB


v.

DARREN K. INDYKE and RICHARD D. KAHN,
in their capacities as the executors of the
ESTATE OF JEFFREY EDWARD EPSTEIN,


               Defendants.

_____________________________________


                             JOINT STIPULATION FOR DISMISSAL

       Plaintiff Maria Farmer and Defendants Darren K. Indyke and Richard D. Kahn, in their

capacities as the executors of the Estate of Jeffrey E. Epstein, by and through their undersigned

counsel, hereby stipulate and agree that pursuant to Plaintiff’s acceptance of an offer of

compensation from the Epstein Victims’ Compensation Program and Fed. R. Civ. P.

41(a)(1)(A)(ii), this action shall be dismissed with prejudice, with each party to bear its own

attorneys’ fees and costs.
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SO STIPULATED AND AGREED.



TROUTMAN PEPPER HAMILTON                  BOIES SCHILLER FLEXNER LLP
SANDERS LLP

/s/                                       /s/
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Counsel for Defendants Darren K. Indyke   Counsel for Plaintiff Maria Farmer
and Richard D. Kahn, Co-Executors of
the Estate of Jeffrey E. Epstein

Dated: April 1, 2021                      Dated: April 1, 2021




Dated: New York, New York
              April 1, 2021
